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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SHANDEL LITTLE                                       :       CIVIL ACTION
                                                     :
        v.                                           :
                                                     :
OFFICER WEATHERHOLTZ and                             ;
WARDEN JANE QUIGLEY                                  :       NO. 20-2889

                                                ORDER

        NOW, this 20th day of October, 2020, the plaintiff having failed to file a response

to the Motion for Judgment on the Pleadings of Defendants, Correctional Officer

Weatherholtz and Warden Janine Quigley (Document No. 16) and the plaintiff having

failed to demonstrate that he has exhausted his administrative remedies, it is ORDERED

that the motion is GRANTED1 to the extent the defendants seek dismissal of the action.2




                                        /s/ TIMOTHY J. SAVAGE J.




1Because the plaintiff has failed to file a response within fourteen days of the filing of the defendants’
motion, the motion is granted as uncontested pursuant to Local Rule of Civil Procedure 7.1(c).

2 The defendants move for judgment on the pleadings or, in the alternative, a dismissal of the claims with
prejudice. Although the motion is deemed uncontested for the plaintiff’s failure to respond to the motion,
we are not entering judgment against the plaintiff. Rather, we shall dismiss his action without prejudice.
If he exhausts his administrative remedies, he may file a new action.
